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NOT FOR PUBLICATION

                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
______________________________________
UNITED STATES OF AMERICA               )
                                       )
            v.                         ) Criminal No. 07-784 (HAA)
                                       )
DAVID DELLE DONNA and                  ) ORDER
ANNA DELLE DONNA,                      )
                                       )
                  Defendants.          )
______________________________________)

ACKERMAN, Senior District Judge:

       This matter comes before the Court on Defendants’ motion (Doc. No. 57) for judgment of

acquittal pursuant to Federal Rule of Criminal Procedure 29(a). Defendants moved for judgment

of acquittal on April 16, 2008, after the Government rested. Pursuant to Rule 29(b), this Court

reserved decision. On April 29, 2008, the jury returned a verdict of guilty on Counts 3, 4, and 5

of the Superceding Indictment with respect to both Defendants, and not guilty on Counts 1 and 2

with respect to both Defendants. After careful consideration, and on the basis of the evidence at

the time this Court reserved judgment, Defendants’ motion for judgment of acquittal is hereby

DENIED.



Dated: April 29, 2008
Newark, New Jersey
                                                     /s/ Harold A. Ackerman
                                                     U.S.D.J.
